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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

DANIEL GUMNS, MICHAEL VIDEAU,
TREVON WILEY, IAN CAZENAVE,
REGINALD              GEORGE,        LIONEL
TOLBERT, OTTO BARRERA, KENTRELL
PARKER, MICHAEL ROBINSON, JULIUS
ALLEN, ERNEST ROGERS, ALFOANSO
GARNER,             BRADLEY         WINTERS,
KENDRICK            WILSON,     and    JAMES
HUGHES, on behalf of themselves and all
similarly situated individuals,

Plaintiffs,
                                                     CIVIL ACTION NO. 3:20-cv-00231-SDD-
                                                     RLB
v.
                                                     CLASS ACTION
JOHN BEL EDWARDS, in his official capacity
as Governor of the State of Louisiana;
LOUISIANA DEPARTMENT OF PUBLIC
SAFETY & CORRECTIONS; JAMES
LEBLANC, in his official capacity as Secretary
of the Department of Safety and Corrections;
JOHN MORRISON, in his official capacity as
Medical Director of the Department of Safety
and         Corrections;        LOUISIANA
DEPARTMENT           OF    HEALTH;        and
STEPHEN R. RUSSO, in his official capacity
as Interim Secretary of the Louisiana
Department of Health,

Defendants.



     PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

        NOW INTO COURT COME Plaintiffs in the above-captioned matter, through

undersigned counsel, who hereby voluntarily dismiss all causes of action in their class action

complaint without prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i). Defendants have neither filed

an answer to the complaint nor a motion for summary judgment as to Plaintiffs’ claims, and the




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Court has not yet certified a class. Immediate dismissal without action from this Court is therefore

appropriate under Rule 41(a)(1)(A)(i).1

Respectfully submitted this 1st day of June, 2020.

                                                         Respectfully submitted by:

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                                                         Attorneys for Plaintiffs



1 See Kyzar v. Am. Nat’l Prop. & Cas. Co., No. 15-527-SDD-EWD, 2016 U.S. Dist. LEXIS 65791, at
*2 (M.D. La. May 18, 2016) (finding that “[t]he filing of a notice of voluntary dismissal under Rule
41(a)(1)(A)(i) is effective immediately and does not require action by the Court” when there has “been
no answer or summary judgment motion filed by [Defendants].”) (internal citation omitted)
(emphasis in original); see also Bechuck v. Home Depot U.S.A., Inc., 814 F.3d 287, 293 (5th Cir. 2013).
                                                     2
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                                  CERTIFICATE OF SERVICE

       I, Nishi Kumar, an attorney, hereby certify that on June 1, 2020, I caused a copy of the
foregoing to be filed using the Court’s CM/ECF system.

        I further certify that I, or another one of Plaintiffs’ attorneys, will promptly electronically
serve a copy of the same, along with all other pleadings and papers filed in the action to date to the
General Counsel for the Louisiana Department of Corrections, the General Counsel for the
Louisiana Governor, and the General Counsel for the Louisiana Department of Health, as well as
the Louisiana Department of Justice Director of Litigation via email.

                                                        /s/ Nishi Kumar
                                                        Nishi Kumar, La. Bar No. 37415




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